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                      EXHIBIT D
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  From: Karla Quintero karla.quintero@kccd.edu
Subject: Added Screening Committee Workshop for June 2023
   Date: June 5, 2023 at 12:10 PM
     To:
    Cc: Amalia Calderon amalia.calderon@kccd.edu, Laci Beyes laci.beyes@cerrocoso.edu, Gina Duran gina.duran@kccd.edu,
         Judy Caballero judy.caballero@kccd.edu


       Good morning everyone,

       If you have already completed a workshop, please disregard this email.

       We have scheduled another date and time for the Screening Committee Training.
       You will need to have this training completed prior to the first meeting of any
       recruitment. Even if you are not sure if you will ever participate on a screening
       committee, it’s a good thing to register and take the training. If you are unable to
       join this session, we will be offering more workshops in the coming months.
       Reminder, the trainings are offered monthly at this time.

       Workshop Date/Time for the month of June (click on a date below to register):

       Wednesday, June 21, 2023, 2:00 pm to 4:00 pm

       As a reminder this is a two-hour training that was developed per the
       recommendation of the 2021-2024 KCCD Equal Employment Opportunity Plan
       which was board approved last spring. Fulfilling this obligation will certify
       employees for screening committee participation for two years. You may use
       the below links to access the 2021-2024 KCCD Equal Employment Opportunity
       Plan, Title V which guides the plans development and Title VII of the Civil Rights
       Act.

       Title V
       Title VII
       KCCD Equal Employment Opportunity Plan

       Thank You,

       Karla Quintero
       Human Resources
       Bakersfield College
